             Case 18-81307-TLS                             Doc 9         Filed 09/18/18 Entered 09/18/18 11:35:15                    Desc Main
                                                                         Document      Page 1 of 8
                                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                                    FOR THE DISTRICT OF NEBRASKA

 IN THE MATTER OF:                                                                 )            BK. NO. 18-81307
 Ronnie Jerome Eggerson                                                            )            (Chapter 13)
 Debra Louise Eggerson                                                             )
                                                                                   )                             CHAPTER 13 PLAN
                                                                                   )                                   AND
                                                                         DEBTOR(S) )                      NOTICE OF RESISTANCE DEADLINE

                                                                     NOTICE TO CREDITORS AND DEBTORS

The Bankruptcy Court for the District of Nebraska enacts this Local Form Chapter 13 Plan [hereinafter “plan”] under the provisions contained in Rule
3015.1 of the Federal Rules of Bankruptcy Procedure. This form plan shall be used for all Chapter 13 plans filed on or after the effective date of Rule
3015.1.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to this plan no later than the
date designated in the attached Notice of Resistance Deadline. The Bankruptcy Court may confirm or approve this plan without further notice if no
objection to confirmation is filed. See Bankruptcy Rule 3015.

You must file a timely proof of claim in order to be paid under this plan.

In this District, the amount set forth in the claim controls the amount to be paid to a creditor. The value of the collateral set forth in the claim controls the
amount to be paid subject to the right of the debtor to object to the claim amount and/or the valuation of the collateral in the claim. Avoidance of security
interests or liens must be done by motion or adversary proceeding as appropriate. Interest is paid to secured creditors in the amount and from the date
specified in the plan.

The Debtor acknowledges that the plan does NOT INCLUDE provisions through which the plan ALONE would limit the amount of a secured claim or
the value of collateral. The Debtor acknowledges that such limit on the amount of the claim or the value of the collateral shall be raised by objection to
the claim.

The Debtor acknowledges that the plan does NOT INCLUDE provisions through which the plan ALONE would avoid a security interest or lien. The
Debtor acknowledges that avoidance of a security interest or lien or the stripping of a lien shall be raised by motion or adversary proceeding as
appropriate.

This plan requires that all nonstandard provisions be set forth in PART 11 of the plan and use of PART 11 must be identified by checking the box below.

DEBTORS MUST CHECK ONE BOX BELOW TO STATE WHETHER NONSTANDARD PROVISIONS ARE OR ARE NOT
CONTAINED IN PART 11 OF THIS PLAN. IF THE BOX IS CHECKED AS “NOT INCLUDED” OR IF BOTH BOXES ARE CHECKED,
THE PROVISIONS CONTAINED IN PART 11 WILL BE INEFFECTIVE.

 Nonstandard provisions, set out in PART 11                                                                            Included              Not Included


PART 1.                    PAYMENTS

The Debtor or Debtors (hereinafter called “Debtor”) submits to the Standing Chapter 13 Trustee all projected disposable income to be received within
the applicable commitment period of the plan. The payment schedule is as follows:

 A. Monthly Payment Amount (include any   B. Number of Payments                     Base Amount (A X B)
 previous payments)
                                  $200.00 6                                                                                                           $1,200.00
                                  $500.00 54                                                                                                         $27,000.00
                                                              Total Plan Base Amount: $28,200.00

 The payment shall be withheld from the Debtor’s paycheck:                                     Yes                            No

 Employee’s name from whose check the payment is deducted:                           Retired

 Employer’s name, address, city, state, phone:

 Debtor is paid:                   Monthly                           Twice Monthly             Weekly              Biweekly        Other


This plan cures any arrearage in payments to the Chapter 13 Trustee under any prior plan in this case.
Page 1 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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             Case 18-81307-TLS                             Doc 9     Filed 09/18/18 Entered 09/18/18 11:35:15                   Desc Main
                                                                     Document      Page 2 of 8
 Debtor                Ronnie Jerome Eggerson                                                Case number        18-81307
                       Debra Louise Eggerson


NOTE: PLAN PAYMENTS TO THE TRUSTEE MUST BEGIN IMMEDIATELY FOR PLANS REQUIRING PRE-CONFIRMATION
ADEQUATE PROTECTION PAYMENTS OR LEASE PAYMENTS. IN THOSE CASES PROVIDING FOR EMPLOYER DEDUCTIONS,
THE DEBTOR MUST MAKE DIRECT PAYMENT TO THE TRUSTEE BY MONEY ORDER OR CASHIER’S CHECK UNTIL THE
EMPLOYER DEDUCTION BEGINS. IN CASES WITHOUT PRE-CONFIRMATION PAYMENTS, PLAN PAYMENTS MUST
COMMENCE WITHIN 30 DAYS OF FILING OF THE PETITION. THE DEBTOR MUST MAKE DIRECT PAYMENT TO THE
TRUSTEE UNTIL THE EMPLOYER DEDUCTION BEGINS.

PART 2.                    ORDER OF PAYMENT OF CLAIMS

Applicable Trustee fees shall be deducted pursuant to 28 U.S.C. § 586(e). Claims shall be paid in the following order; and, unless otherwise provided,
claims within each class shall be paid pro rata:

             1. Pre-confirmation payments for adequate protection or leases of personal property;

             2. Minimum monthly payments to secured creditors listed in PART 6 of this plan, minimum arrearage payments and regular executory
                contract payments due on Executory Contracts and Leases in PART 7 of this plan, and minimum monthly payments on arrearages on 11
                U.S.C. § 507(a)(1)(A) priority domestic support claims in PART 5(B) of this plan [NOTE: IF THERE ARE NO MINIMUM
                ARREARAGE PAYMENTS OR REGULAR EXECUTORY CONTRACT PAYMENTS DESIGNATED IN THE PLAN, THOSE
                MONIES WILL BE DISTRIBUTED UNDER # 3 ON ATTORNEY FEES];

             3. The Debtor’s attorney’s fees and costs as approved by the Court [NOTE: DEBTOR’S COUNSEL SHOULD NOT DESIGNATE A
                PER MONTH PAYMENT FOR ATTORNEY FEES. UNDER THIS ORDER OF PAYMENTS ALL FUNDS WILL BE CODED
                FOR ATTORNEY FEES AFTER THE BEFORE DISCUSSED MINIMUM MONTHLY PAYMENTS AND EXECUTORY
                CONTRACT PAYMENTS];

             4. After payments of the previously listed amounts in (1) through (3) above, additional funds will be distributed prorata to secured claims in
                PART 6, arrearages on Executory Contracts and Leases in PART 7 of this plan and domestic support claims under 11 U.S.C. §
                507(a)(1)(A) in PART 5(B) of this plan;

             5. Other administrative expense claims under 11 U.S.C. § 503 and Chapter 7 Trustee compensation allowed under 11 U.S.C. § 1326(b)(3);

             6. Other priority claims in the order specified in 11 U.S.C. § 507(a) including post-petition tax claims allowed under 11 U.S.C. § 1305;

             7. Payments on co-signed unsecured claims listed in PART 8 of this plan;

             8. General Unsecured Claims.

PART 3.                    §1326(A) PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS & LEASE PAYMENTS

The following pre-confirmation adequate protection payments on claims secured by personal property and pre-confirmation lease payments for leases
of personal property shall be paid by the Trustee to the below listed creditors without entry of an order of the Court. The Debtor proposing
pre-confirmation payments will immediately commence plan payments to the Trustee. Creditors must file a timely proof of claim to receive payment.
Payments by the Trustee shall commence to these creditors within 30 days of the filing of the proof of claim unless the Trustee does not have funds
available within 7 working days prior to the end of the 30-day period. Post-confirmation payments are provided for below in PARTS 6 and 7 of this
plan.

 Creditor’s Names and Full                          Last Four Digits of Account   Date of Next Payment Due           Payment Amount
 Address                                            Number
 -NONE-

PART 4.                    ADMINISTRATIVE CLAIMS

Trustee fees shall be deducted from each payment received by the Trustee.

Neb. R. Bankr. P. 2016-1(A)(4) and Appendix “K” provide for the maximum allowance of Chapter 13 attorney fees and expenses [Standard
Allowable Amount “SAA”] which may be included in a Chapter 13 Plan. Additional fees or costs in excess of this amount must be approved through the
“ALC” Fees process or a separate fee application. Fees and costs requested for allowance are as follows:
 “SAA” Fees Requested                             Fees Received Prior to Filing                      Balance of “SAA” Fees to Be Paid in Plan
 $3,700.00                                        $24.00                                             $3,676.00
 “SAA” Costs Requested                            Costs Received Prior to Filing                     Balance of “SAA” Costs to Be Paid in Plan
Page 2 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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             Case 18-81307-TLS                             Doc 9          Filed 09/18/18 Entered 09/18/18 11:35:15                    Desc Main
                                                                          Document      Page 3 of 8
 Debtor                Ronnie Jerome Eggerson                                                       Case number       18-81307
                       Debra Louise Eggerson

 $200.00                                                             $0.00                                     $200.00

PART 5                     PRIORITY CLAIMS

11 U.S.C. § 1322(a) provides that all claims entitled to priority under 11 U.S.C. § 507(a) shall be paid in full in deferred cash payments unless the holder
of a particular claim agrees to a different treatment of such claim except for a priority claim under 11 U.S.C. § 507(a)(1)(B). It is further provided that
any and all pre-petition penalties, and post-petition penalties and interest, which have attached or will be attached to any such claim, shall be treated as
a general unsecured claim and not entitled to priority. Such claims are as follows:

             A. Domestic Support Obligations

                           1)      None. If “None” is checked, the rest of § 5(A) need not be completed or reproduced

             B. Arrearages Owed to Domestic Support Obligation Holders Under 11 U.S.C. § 507(a)(1)(A)

                           1)      None. If “None” is checked, the rest of § 5(B) need not be completed or reproduced.

             C. Domestic Support Obligations Assigned To Or Owed To A Governmental Unit Under 11 U.S.C. § 507(a)(1)(B)

                           1)      None. If “None” is checked, the rest of § 5(C) need not be completed or reproduced.

      A. D. Priority Tax Claims Including Post-Petition Tax Claims Allowed Under 11 U.S.C. § 1305

                    1)  None. If “None” is checked, the rest of § 5(D) need not be completed or reproduced.
                    2) Name of Creditor, estimated arrearage claim, and any special payment provisions:


Federal: $759.08                                            State: $                                Total: $759.08

             E. Chapter 7 Trustee Compensation Allowed Under 11 U.S.C. § 1326(b)(3)

                           1)      None. If “None” is checked, the rest of § 5(E) need not be completed or reproduced.

             F. Other Priority Claims: Provisions for treatment in Part 11 of plan.

PART 6.                    SECURED CLAIMS

             A. Home Mortgage Claims
                (including claims secured by real property which the debtor intends to retain)

                           1)     None. If “None” is checked, the rest of § 6(A) need not be completed or reproduced.
                           2) Unless otherwise provided in this plan, Debtor shall pay all post-petition mortgage payments directly to each mortgage creditor
                              as those payments ordinarily come due beginning with the first due date after the case is filed and such creditor shall retain any
                              lien securing its claim. Any pre-petition arrearage shall be paid through this Chapter 13 plan with interest as provided below. The
                              amount of pre-petition arrears is determined by the proof of claim, subject to the right of the Debtor to object to the amount set
                              forth in the claim.

 Name of Creditor               Property                   Estimated           Pre-confirmation   Post-confirmation   Minimum Monthly       Total Payments on
                                Description                Pre-petition        Interest Rate &    Interest Rate       Payment Amount        Pre-petition
                                                           Arrearage           Dollar Amount                          on Pre-petition       Arrears Plus
                                                                               Limit, If Any                          Arrears               Interest




Page 3 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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             Case 18-81307-TLS                             Doc 9          Filed 09/18/18 Entered 09/18/18 11:35:15                       Desc Main
                                                                          Document      Page 4 of 8
 Debtor                Ronnie Jerome Eggerson                                                             Case number       18-81307
                       Debra Louise Eggerson

 Name of Creditor               Property                   Estimated            Pre-confirmation        Post-confirmation   Minimum Monthly     Total Payments on
                                Description                Pre-petition         Interest Rate &         Interest Rate       Payment Amount      Pre-petition
                                                           Arrearage            Dollar Amount                               on Pre-petition     Arrears Plus
                                                                                Limit, If Any                               Arrears             Interest
 1. Statebridge                 8708 North 52nd                      $15,000.00 0.00%                   10.00%                              $           $19,928.14
 Company                        Avenue Omaha,                                   $0.00
                                NE 68154
                                Douglas County
                                Legal Desription:
                                Raven Oaks, L15
                                Block 7
                                Purchased
                                06/01/98 for
                                $131,500.00
                                Douglas County
                                Assessor Value
                                $273,000

                           3) The following claims secured by real property shall be paid in full through the Chapter 13 Plan:

 Name of Creditor                  Property Description              Pre-confirmation         Post-confirmation      Minimum Monthly       Total Payments Plus
                                                                     Interest Rate & Dollar   Interest Rate          Payment Amount        Interest
                                                                     Amount Limit, if any
 -NONE-


             B. Post-Confirmation Payments to Creditors Secured by Personal Property. Post-confirmation payments to creditors holding claims
                 secured by personal property shall be paid as set forth in subparagraphs (1) and (2):

                           1) Secured Claims to which § 506 Valuation is NOT applicable:
                                    a.   None. If “None” is checked, the rest of § 6(B)(1) need not be completed or reproduced.

                           2) Secured Claims to which § 506 Valuation is applicable:
                                    a.   None. If “None” is checked, the rest of § 6(B)(2) need not be completed or reproduced.

             C. Surrender of Property

                           1)      None. If “None” is checked, the rest of § 6(C) need not be completed or reproduced.

             D. Lien Avoidance and Lien Stripping

                           1)      None. If “None” is checked, the rest of § 6(D) need not be completed or reproduced.

PART 7.                    EXECUTORY CONTRACTS/LEASES

             A. The Debtor assumes the executory contract/lease referenced below and provides for the regular contract/lease payment to be included in
                the Chapter 13 plan. All other executory contracts and unexpired leases are rejected. Any pre-petition arrearage will be cured in monthly
                payments as noted below:

             B. Check One
                1)    None. If “None” is checked, the rest of § Part 7 need not be completed or reproduced.

PART 8.                    CO-SIGNED UNSECURED DEBTS

             A.       None. If “None” is checked, the rest of § Part 8 need not be completed or reproduced.

PART 9.               UNSECURED CLAIMS
             A. Allowed unsecured claims shall be paid pro rata from all remaining funds.

PART 10.                   ADDITIONAL PROVISIONS


Page 4 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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             Case 18-81307-TLS                             Doc 9          Filed 09/18/18 Entered 09/18/18 11:35:15                   Desc Main
                                                                          Document      Page 5 of 8
 Debtor                Ronnie Jerome Eggerson                                                             Case number   18-81307
                       Debra Louise Eggerson

             A. If there are no resistances/objections to confirmation of this plan or after all objections are resolved, the Court may confirm the plan
                 without further hearing.

             B. Property of the estate, including the Debtor’s current and future income, shall revest in the Debtor at the time a discharge is issued, and the
                 Debtor shall have the sole right to use and possession of property of the estate during the pendency of this case.

             C. In order to obtain distributions under the plan, a creditor must file a proof of claim no later than 70 days after the filing of the petition
                 except as provided in Rule 3002(c) of the Federal Rules of Bankruptcy Procedure.

             D. Unless otherwise provided in this plan or ordered by the Court, the holder of each allowed secured claim provided for by the plan shall
                retain its lien securing such claim as provided in 11 U.S.C. § 1325(a)(5)(B).

             E. After the bar date to file a proof of claim for non-governmental units passes, limited notice/service is approved for all post confirmation
                pleadings. Pleadings shall include applications for fees, amended plans and motions. Pleadings shall be served on all parties in interest.
                For purposes of this limited notice provision, a party in interest is a party whose interest is directly affected by the motion, a creditor who
                has filed a proof of claim, a party who has filed a request for notice, any governmental agency or unit that is a creditor and all creditors
                scheduled as secured or priority creditors. Any pleading filed with limited notice shall include a certificate of service specifically stating it
                was served with limited notice on all parties in interest pursuant to Neb. R. Bankr. P. 9013-1(E)(1). Failure to comply shall result in
                deferral of the motion until a proper certificate of service is filed.

PART 11.           NONSTANDARD PROVISIONS
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in this
Local Form Plan or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective and void.

The following plan provisions will be effective only if there is a check in the box “included” at the end of the opening Notice to Creditors and Debtors
of this plan.

 The Debtors will continue to pay their student loans outside the Chapter 13 Plan. The Trustee will not distribute any funds to the student loan
 Providers from the plan payment.

                                                                       NOTICE OF RESISTANCE DEADLINE

ANY RESISTANCE TO THIS PLAN OR REQUEST FOR A HEARING MUST BE FILED IN WRITING WITH THE BANKRUPTCY
CLERK’S OFFICE (SEE ORIGINAL NOTICE OF BANKRUPTCY FOR ADDRESS) AND SERVED ON THE ATTORNEY FOR THE
DEBTOR AT THE ADDRESS LISTED BELOW (OR SERVED ON THE DEBTOR, IF NOT REPRESENTED BY AN ATTORNEY), ON
OR BEFORE:

                                                                                   November 6, 2018

IF A TIMELY RESISTANCE OR REQUEST FOR A HEARING IS FILED AND SERVED, THE BANKRUPTCY COURT WILL HANDLE
THE RESISTANCE IN ACCORDANCE WITH NEB. R. BANKR. P. 3015-2. IF THERE ARE NO OBJECTIONS TO THE PLAN AS
FILED, THE COURT MAY CONFIRM THE PLAN WITHOUT FURTHER HEARING.

                                                          CERTIFICATE OF SERVICE
On September 17, 2018 , the undersigned mailed a copy of this plan to all creditors, parties in interest and those requesting notice by regular
United States mail, postage prepaid. The parties to whom notice was mailed are either listed below or on the attached mailing matrix. The undersigned
relies on the CM/ECF system of the United States Bankruptcy Court to provide service to the following: Kathleen A. Laughlin, Standing Chapter 13
Trustee District of Nebraska

                                                                     Ronnie & Debra Eggerson, Debtor(s)

                                                                     By: /s/ Samuel J. Turco, Jr.
                                                                     Samuel J. Turco, Jr. #19892
                                                                     3006 South 87th Street
                                                                     Omaha, NE 68124
                                                                     (402) 614-7171
                                                                     (402) 939-0960
                                                                     Sam.Turco@SamTurcoLawOffices.com




Page 5 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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             Case 18-81307-TLS                             Doc 9     Filed 09/18/18 Entered 09/18/18 11:35:15                    Desc Main
                                                                     Document      Page 6 of 8
 Debtor                Ronnie Jerome Eggerson                                                        Case number   18-81307
                       Debra Louise Eggerson

By filing this document, the Attorney for the Debtor(s) or the Debtor(s) themselves, if not represented by an attorney certify(ies) that wording and order
of the provisions in this Chapter 13 plan are identical to those contained in the Local Chapter 13 Plan for the United States Bankruptcy Court for the
District of Nebraska, other than any nonstandard provisions included in PART 11 of this plan.


  Ronnie Jerome Eggerson                                             Debra Louise Eggerson                           Chase Card Services
  8708 North 52nd Street                                             8708 North 52nd Street                          Correspondence Dept
  Omaha, NE 68152                                                    Omaha, NE 68152                                 Po Box 15298
                                                                                                                     Wilmington, DE 19850



  Citibank/The Home Depot                                            Comenity Bank / The Limited                     Comenity Bank/Gordmans
  Attn: Recovery/Centralized Bankruptcy                              Attn: Bankruptcy Dept                           Attn: Bankruptcy Dept
  Po Box 790034                                                      Po Box 182125                                   Po Box 182125
  St Louis, MO 63179                                                 Columbus, OH 43218                              Columbus, OH 43218



  Comenity Bank/younkers                                             Comenitybank/New York                           Dept of Ed / Navient
  Attn: Bankruptcy Dept                                              Attn: Bankruptcy Dept                           Attn: Claims Dept
  Po Box 182125                                                      Po Box 182125                                   Po Box 9635
  Columbus, OH 43218                                                 Columbus, OH 43218                              Wilkes Barr, PA 18773



  Dish Network                                                       Diversified Consultants, Inc.                   Douglas County Attorney
  1675 Larimer Street                                                Attn: Bankruptcy                                428 Hall Of Justice
  Denver, CO 80202                                                   Po Box 551268                                   Omaha, NE 68183
                                                                     Jacksonville, FL 32255



  Douglas County Treasurer                                           ERC/Enhanced Recovery Corp                      FedLoan Servicing
  1819 Farnam St H03                                                 Attn: Bankruptcy                                Attn: Bankruptcy
  Omaha, NE 68183                                                    8014 Bayberry Road                              Po Box 69184
                                                                     Jacksonville, FL 32256                          Harrisburg, PA 17106



  Internal Revenue Service                                           Kohls/Capital One                               Locher Pavelka Dostal et al
  PO Box 7346                                                        Kohls Credit                                    200 The Omaha Club
  Philadelphia, PA 19101-7346                                        Po Box 3120                                     2002 Douglas Street
                                                                     Milwaukee, WI 53201                             Omaha, NE 68102



  Merchants Credit Adjusters                                         Midwest Asset Control                           Navient
  c/o John Reefe III                                                 c/o Mark A Smith                                Attn: Bankruptcy
  1904 Farnam St., Ste. 700                                          6910 Pacific St. Ste. 425                       Po Box 9000
  Omaha, NE 68102                                                    Omaha, NE 68106                                 Wiles-Barr, PA 18773



  Nebraska Department Of Revenue                                     SN Servicing                                    Statebridge Company
  Attn: Bankruptcy Unit                                              323 Fifth Street                                5680 Greenwood Plazablvd
  PO Box 94818                                                       Eureka, CA 95501                                Greenwood Village, CO 80111
  Lincoln, NE 68509-4818




Page 6 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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             Case 18-81307-TLS                             Doc 9     Filed 09/18/18 Entered 09/18/18 11:35:15                  Desc Main
                                                                     Document      Page 7 of 8
 Debtor                Ronnie Jerome Eggerson                                                       Case number   18-81307
                       Debra Louise Eggerson

  Synchrony Bank/ Old Navy                                           Synchrony Bank/Amazon                          Synchrony Bank/TJX
  Attn: Bankruptcy Dept                                              Attn: Bankruptcy Dept                          Attn: Bankruptcy Dept
  Po Box 965060                                                      Po Box 965060                                  Po Box 965060
  Orlando, FL 32896                                                  Orlando, FL 32896                              Orlando, FL 32896



  Target                                                             U.S. Department of Education                   Von Maur
  Attn: Bankruptcy Dept Target Card Servic                           Ecmc/Bankruptcy                                Attn: Bankruptcy
  Po Box 9475                                                        Po Box 16408                                   727 Veterans Memorial Parkway
  Minneapolis, MN 55440                                              Saint Paul, MN 55116                           Davenport, IA 52806



  Wells Fargo Bank
  Attn: Bankruptcy Dept
  Po Box 6429
  Greenville, SC 29606




Page 7 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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             Case 18-81307-TLS                             Doc 9     Filed 09/18/18 Entered 09/18/18 11:35:15     Desc Main
                                                                     Document      Page 8 of 8
 Debtor                Ronnie Jerome Eggerson                                            Case number   18-81307
                       Debra Louise Eggerson




Page 8 of 8
2017 12 1 Nebraska Standard Chapter 13 Plan
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